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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DISTRICT



UNITED STATES OF AMERICA                     )
                                             )
v.                                           )                      4:12CR00040–3 JLH
                                             )
TAMARIO WASHINGTON                           )


                                             ORDER

       The government has filed a motion for revocation of pre-trial release (docket entry no.

68), and the issue has been referred to the undersigned for disposition. The Clerk is directed to

issue a summons for the defendant to appear on this motion. The summons should direct the

defendant to appear on Wednesday, June 19, 2013, at 2:00 p.m.

       IT IS SO ORDERED this 17          day of June, 2013.




                                                 UNITED STATES MAGISTRATE JUDGE
